                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:94-CR-118
vs.                                                )
                                                   )
CORY D. EVANS                                      )       JUDGE COLLIER


                               MEMORANDUM AND ORDER

        CORY D. EVANS (“Supervised Releasee”) appeared for an initial appearance before
U.S. Magistrate Judge Susan K. Lee on August 29, 2013, in accordance with Rule 32.1 of the
Federal Rules of Criminal Procedure on the Petition for Warrant for Offender Under Supervision
(“Petition”). At that hearing, the defendant requested time to prepare for a preliminary hearing
and detention that was scheduled for hearing on September 5, 2013. Those present for the
September 5, 2013, hearing included:

              (1) An Assistant United States Attorney for the Government.
              (2) The Supervised Releasee.
              (3) Attorney Gianna Maio for defendant.

       After being sworn in due form of law, the Supervised Releasee was informed or
reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
the United States Constitution.

        It was determined the Supervised Releasee wished to be represented by an attorney and
he qualified for the appointment of an attorney to represent him at government expense.
Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
defendant. It was determined the defendant had been provided with a copy of the Petition and the
Warrant for Arrest and had the opportunity of reviewing those documents with his attorney. It
was also determined the defendant was capable of being able to read and understand the copy of
the aforesaid documents he had been provided.

        The Government called USPO Danny Haimelin as a witness and moved that the defendant
be detained pending the revocation hearing.

                                           Findings

       (1) Based upon USPO Haimelin’s testimony, the undersigned finds there is
       probable cause to believe the Supervised Releasee has committed violations of his
       conditions of supervised release as alleged or set forth in the Petition.


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     (2) The Supervised Releasee has not carried his burden under Rule 32.1(a)(6) of the
     Federal Rules of Criminal Procedure, that if released on bail he will not pose a
     danger to the community.

                                        Conclusions

     It is ORDERED:

     (1) The motion of the Government that the Supervised Releasee be DETAINED
     WITHOUT BAIL pending the revocation hearing before U.S. District Judge Curtis
     L. Collier is GRANTED.

     (2) The U.S. Marshal shall transport the Supervised Releasee to a revocation
     hearing before Judge Collier on Thursday, October 10, 2013, at 2:00 pm.

     ENTER.


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                                          UNITED STATES MAGISTRATE JUDGE




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